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IN THE UNITED STATES DISTRICT COURT
FOR NORTHERN ILLINOIS ae ”
EASTERN DIVISION

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MELISSA CALLAHAN
LICENSED PUBLIC CHAUFFER,

PLANTIFF,
VS.

CITYOF CHICAGO,
Committee on License & Consumer

Protection
CHAIRMAN EMMA MITTS,

12-cv-00362
Judge Matthew F. Kennelly
Magistrate Judge Morton Denlow

DEFENDANTS,
COMPLAINT

. This is an action for relief pursuant to 42 U.S.C. § 1983 and The Fair Labor
Standards Act §1938, as amended 29 U.S.C. 101, et seq.

. Jurisdiction for Plaintiff's federal claims is based on 28 U.S.C. § 1391 and
1343(a).

. Venue is proper in this Court pursuant to 25 U.S.C. 28 § 1391(b), in that the
claims arose in this district as alleged below.

Parties
. Plaintiff Melissa Callahan is a resident of Chicago, Illinois.

. Callahan is a licensed public chauffer (“Taxi Driver”) and leases a taxi in the City
of Chicago and does business as a driver within the City of Chicago.

. The Defendants, the City of Chicago and Chairman of the Committee on License
and Consumer Protection, at all times relevant to this Complaint, were acting in
the course and scope of their employment, and under color of state law, ordinance
and/or regulation.

. Defendant City of Chicago is a municipal corporation, duly incorporated under
the laws of the State of Illinois, and is the employer and principal of the
Defendant Alderman.

 
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Facts

. The City of Chicago’s Department of Business Affairs and Consumer Protection
(“Chicago BACP”) is an official regulatory entity of the City of Chicago.

. Coghill Capital Management is an independent agency located in the City of
Chicago.

. Coghill Capital Management conducted a financial study of taxi driver’s income
with the cooperation of Chicago BACP and various taxi drivers.

10. Coghill Captial Management determined that Chicago taxi driver’s income is
currently $4.08 per hour.

11. The current requirement set by the FSLA act is $7.25 per hour.
12. The City of Chicago was informed of the results of the financial study.

13. The City of Chicago has full authority to regulate a driver’s income by setting the
rate of fare as set forth in the City of Chicago Municipal Code.

14, The City of Chicago has full authority to determine the limitation of the amount
of money that may be charged for the lease of a taxi, as set forth in the City of
Chicago Municipal Code.

. The City of Chicago has authority to license other transportation services within
the City of Chicago.

. On January 17, 2012 the Committee on License and Consumer Protection
conducted a public hearing that included the proposed and revised Chapter 9-112
of the City of Chicago Municipal Code.

- One revision within the proposed ordinance gives authorization for currently
illegal vehicles and unlicensed drivers to become licensed to operate as “Jitney
Cabs” in the City of Chicago.

. One revision in the ordinance proposed higher lease amounts that a company may
charge a taxi driver.

9. The proposed regulations will cause further unjust financial hardship to the
Plaintiff.

20. On January 17, 2012, Emma Mitts, Chairman of the Committee on License and
Consumer Protection, ordered member to vote despite Bob Fioretti’s request to
delay the vote.

 
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21. The proposed revisions of Chapter 9-112 of the City of Chicago Municipal Code were
passed in the Committee on License and Consumer Protection.

22. The revisions of the Municipal Code will result in a decrease of income for the
Plaintiff.
COUNTI

(42 U.S.C, § 1983 and The Fair Labor Standards Act §1938, as amended 29 U.S.C.
201, et seq.)

23. The Defendant-Alderman’s actions deprived the Plaintiffs’ protections and rights
to earn the Federal Minimum Wages as defined under FLSA.

14. The Defendant-Aldermen’s violation of the FLSA statute will cause Plaintiff to
suffer damages, including loss of profits and other financial losses.

WHEREFORE, Plaintiff asks that this Honorable Court:
a) Enter judgment against Defendants;
b) Enter injunctive judgment against Defendants

b) Award Plaintiff fees and costs;

c) Award such other and additional relief that this Honorable Court deems just
and equitable,

Plaintiff demands trial by jury.

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